 

Case 1:09-cr-00195-GBD Document 1040 Filed 10/21/20 Page i1iof1

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

 

-against- ORDER
RUDY SANTANA, : 09 Crim. 195-9 (GBD)

Defendant.

GEORGE B. DANIELS, United States District Judge:

Defendant is released on his own recognizance.

SO ORDERED.

Dated: October 21, 2020
New York, New York

Garay & Dorbe

Chr EB. DANIELS
nited States District Judge

 

 

 
